
BY THE COURT:
Upon the petition of the Dean of the College of Law of the Florida State University, we have been asked to clarify the educational prerequisite for participation of law students in supervised internship programs. Our review discloses that clarification is needed. Therefore, Article XVIII § 3(B) is amended to read as follows :
“B. Have completed legal studies amounting to at least four semesters or six quarters for which the student has received not less than 48 semester hours or 72 quarter hours of academic credit, or the equivalent if the school is on some other basis.”
It is so ordered.
OVERTON, C. J, and ROBERTS, ADKINS, BOYD, ENGLAND, SUNDBERG and HATCHETT, JJ., concur.
